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                                                                                                     Transmittal Number: 25452033
Notice of Service of Process                                                                            Date Processed: 08/26/2022

Primary Contact:           Walgreens Distribution
                           Corporation Service Company- Wilmington, DELAWARE
                           251 Little Falls Dr
                           Wilmington, DE 19808-1674

Entity:                                       Walgreen Co.
                                              Entity ID Number 0501431
Entity Served:                                Walgreens Co. d/b/a Walgreens
Title of Action:                              Wendy Blackshaw vs. Walgreens Co. d/b/a Walgreens
Matter Name/ID:                               Wendy Blackshaw vs. Walgreens Co. d/b/a Walgreens (12831004)
Document(s) Type:                             Summons/Complaint
Nature of Action:                             Personal Injury
Court/Agency:                                 Hennepin County District Court, MN
Case/Reference No:                            Not Shown
Jurisdiction Served:                          Minnesota
Date Served on CSC:                           08/25/2022
Answer or Appearance Due:                     21 Days
Originally Served On:                         CSC
How Served:                                   Personal Service
Sender Information:                           Ciresi Conlin LLP
                                              612-361-8200

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                                   To avoid potential delay, please do not send your response to CSC
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